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                 EXHIBIT B-144
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                              REMITTITUR                                    FILED IN OFFICE


SUPREME COURT OF GEORG~

                                                                       March 01 2023   2:!:0pl't\,
                                                                          FILED IN OFFICE
Case No. S23D0646

                                                                                              RT
      The Honorable Supreme Court met pursuant to adjottr:tt:Hffif~=::.:.:.:..;~;____,J

The following order was passed:


       IN RE: 2 MAY 2022 SPECIAL PURPOSE GRAND JURY.

       This case came before this Court upon an appeal from the
Superior Court of Fulton County and it is considered and adjudged that
the remittitur be transmitted to that court with the attached decision.

All the Justices concur.

Lower Court Case No.
  2022EX000024
Costs paid: $300




                           SUPREME COURT OF THE STATE OF GEORGIA
                                           Clerk's Office, March 16, 2023

                             I hereby certify that the above is a true extract from the
                       minutes of the Supreme Court of Georgia.
                             Witness my signature and the seal of said Court hereto affixed
                       the day and year last above written.




                                                   C.                  ,Chief Deputy Clerk
        Case 1:23-cv-03721-SCJ Document 1-155 Filed 08/21/23 Page 3 of 4
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                SUPREME COURT OF GEORGIA
                Case No. S23D0646


                                                     March 1, 2023

         The Honorable Supreme Court met pursuant to adjournment.

    The following order was passed:

         IN RE: 2 MAY 2022 SPECIAL PURPOSE GRAND JURY.

          Applicants seek review of the Fulton County Superior Court's
    February 13, 2023 order on the Final Report of the 2 May 2022
    Special Purpose Grand Jury. In that order, the superior court ruled
    that much of the Report should not be disclosed until the district
    attorney completes her investigation.          Applicants filed this
    application on February 24, 2023, asserting that this Court's
    jurisdiction is invoked on the basis of its jurisdiction over cases
    involving constitutional questions. See Ga. Const. of 1983, Art. VI,
    Sec. VI, Par. II (1). However, the trial court did not make a distinct
    ruling on any constitutional challenge to a statute, and Applicants'
    arguments that the superior court's rulings are irreconcilable with
    constitutional principles concerning the rights to access court
    records, free speech, and due process under both the United States
    and Georgia Constitutions require "the mere application of well
    settled constitutional principles" and thus do not invoke this Court's
    constitutional question jurisdiction. Woods v. State, 310 Ga. 358, 359
    (850 SE2d 735) (2020). See also Zepp u. Mayor & Council of City of
    Athens, 255 Ga. 449, 450 (339 SE2d 576) (1986) (stating that a
    constitutional question within the jurisdiction of this Court
    "involves either a construction of some federal or state constitutional
    provision, or an attack upon the constitutionality of some law of this
    state or the United States (or an ordinance)").
   Case 1:23-cv-03721-SCJ Document 1-155 Filed 08/21/23 Page 4 of 4




      Accordingly, this Court's constitutional question jurisdiction is
not invoked, and as no other basis for the exercise of this Court's
jurisdiction is apparent from the record, see Ga. Const. of 1983, Art.
VI, Sec. VI, Par. II-III; OCGA § 15-3-3.1, this application is
transferred to the Court of Appeals.

     All the Justices concur.




                          SUPREME COURT OF THE STATE OF GEORGIA
                                     Clerk's Office, Atlanta

                              I certify that the above is a true extract from the
                       minutes of the Supreme Court of Georgia.
                              Witness my signature and the seal of said court hereto
                       affixed the day and year last above written.


                                                   Jc:zSi,     ..,_.I, Clerk




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